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 8

 9                                  UNITED STATES DISTRICT COURT
10                                         DISTRICT OF NEVADA
11   TIMMY JOHN WEBER,                                   Case No. 3:11-cv-00104-RFB-WGC
12            Petitioner,                                        UNOPPOSED MOTION FOR
                                                              ENLARGEMENT OF TIME TO FILE
13     vs.                                                     RESPONSE TO THIRD AMENDED
                                                                   PETITION (ECF NO. 79)
14   WILLIAM GITTERE, et al.,
                                                                      (SECOND REQUEST)
15            Respondents.
                                                                       (DEATH PENALTY)
16

17           Respondents move this Court for an enlargement of time of forty-five (45) days from the current

18   due date of November 30, 2021, up to an including January 14, 2022, in which to file their Response to

19   Timmy John Weber’s Third Amended Petition for Writ of Habeas Corpus (ECF No. 79). This Motion is

20   made pursuant to FED. R. CIV. P. 6(b) and Rule 6-1 of the Local Rules of Practice and is based upon the

21   attached declaration of counsel. This is the second enlargement of time sought by Respondents to file the

22   response to the Third Amended Petition, and the request is brought in good faith and not for the purpose

23   of delay.

24           DATED: November 29, 2021.

25                                                Submitted by:

26                                                AARON D. FORD
                                                  Attorney General
27
                                                  By: /s/ Erica Berrett
28                                                    Erica Berrett (Bar. No. 13826)
                                                      Deputy Attorney General


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 1                                 DECLARATION OF ERICA BERRETT

 2   STATE OF NEVADA )
                     ) ss:
 3   COUNTY OF CLARK )
 4           I, ERICA BERRETT, being first duly sworn under oath, deposes and states as follows:

 5           1.     I am an attorney licensed to practice law in all courts within the State of Nevada and am

 6   employed as a Deputy Attorney General in the Office of the Nevada Attorney General. I have been

 7   assigned to represent Respondents in Timmy John Weber v. William Gittere, et al., Case No. 3:11-cv-

 8   00104-RFB-WGC, and as such, have personal knowledge of the matters contained herein.

 9           2.     This Motion is made in good faith and not for the purpose of delay.

10           3.     The deadline to file the response to the Third Amended Petition (ECF No. 79) is

11   November 30, 2021.

12           4.     Since Respondents’ previous motion for enlargement, I have had to work on several other

13   federal habeas matters, including filing a motion to dismiss petition for writ of habeas corpus in Randolph

14   v. Baker, et al., Case No. 2:18-cv-00449-RFB-VCF; a motion to dismiss in Pritchett v. Gentry, et al.,

15   Case No. 2:17-cv-01694-JAD-CWH; a motion to dismiss in Marquez v. Neven, et al., Case No. 2:20-cv-

16   00073-RCJ-WGC; a motion to dismiss in Holman v. Johnson, et al., Case No. 2:21-cv-00266-APG-NJK;

17   and a reply to motion to dismiss in Marquez v. Neven, et al., Case No. 2:20-cv-00073-RCJ-WGC. I have

18   also been working on a motion to dismiss in Navarrette v. Johnson, et al., Case No. 2:20-cv-02061-APG-

19   DJA.

20           5.     Although I had set aside time to work on the response to Petitioner’s Third Amended

21   Petition, I had to adjust my schedule based on the Ninth Circuit Court of Appeals setting my oral

22   argument in the matter Sempier v. Baker, et al., Case No. 20-17249/3:18-cv-00465-RCJ-WGC. Oral

23   argument was scheduled for December 10, 2021. Preparation for oral argument consumed my time over

24   recent weeks, and I only learned late on November 24, 2021 that the matter has now been submitted on

25   the briefs. Therefore, I need additional time to work on Respondents’ response to the Third Amended

26   Petition.

27           6.     I contacted Petitioner’s counsel regarding this request, and she indicated that she does not

28   oppose it.




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 1          7.      Based on the foregoing, I respectfully request an enlargement of time of forty-five (45) days,

 2   up to an including January 14, 2022, in which to file the response to the Third Amended Petition (ECF No.

 3   79).

 4          Executed on November 29, 2021.

 5                                                             /s/ Erica Berrett
                                                           Erica Berrett (Bar No. 13826)
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 7                                                        IT IS SO ORDERED:
 8

 9
                                                         __________________________
10                                                       RICHARD F. BOULWARE, II
11
                                                         United States District Judge

12                                                       DATED this 1st day of December, 2021.

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 1                                     CERTIFICATE OF SERVICE

 2          I hereby certify that I electronically filed the foregoing Unopposed Motion For Enlargement Of

 3   Time To File Response To Third Amended Petition (ECF No. 79) (Second Request) with the Clerk of the

 4   Court by using the CM/ECF system on November 29, 2021.

 5          The following participants in this case are registered CM/ECF users and will be serve by the

 6   CM/ECF system:

 7          Heather Fraley
 8          Jocelyn S. Murphy
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10          Las Vegas, NV 89101
11
                                                    /s/ M. Landreth
12                                              An employee of the Office of the Attorney General
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